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Case 1:20-cr-00029-RJA-HKS Document 741-1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
VS.
DAVID WASHINGTON

and DAVID BURGIN,
Defendants.

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20-CR-29 (RJA-HKS)

Buffalo, New York
January 25, 2024

TRANSCRIPT OF PROCEEDINGS
BEFORE MAGISTRATE JUDGE H. KENNETH SCHROEDER, JR.
UNITED STATES MAGISTRATE JUDGE

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ESQ.

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(Proceedings recorded by electronic audio recording,

transcript produced by computer.)
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PROCEEDINGS

* * *

(WHEREUPON, Defendant Burgin present.)

THE CLERK: This is United States v. David Washington
and David Burgin, docket number 20-CR-29.

This is the date set for oral argument on supplemental
motions.

Assistant United States Attorneys Timothy Lynch and Evan
Glaberson appearing on behalf of the government.

James Harrington and Donald Thompson appearing with
David Burgin.

MAGISTRATE JUDGE SCHROEDER: Good morning.

MR. HARRINGTON: Morning, Judge.

MR. THOMPSON: Morning, your Honor.

MAGISTRATE JUDGE SCHROEDER: JI understand that Mr. Foti
and Mr. Washington are not appearing?

MR. LYNCH: Judge, I can report on that.

I spoke to Mr. Foti just a few minutes ago and he
indicated to me that he had checked the calendar and he
didn't see the case on. That's what he said, and he
apologized to the Court. Otherwise, he would have been here,
so -- and his client would have been here.

I think Mr. Harrington had a request to the Court, also.

Mr. Foti indicated that he would be available to

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reschedule for December 9th -- I'm sorry, February 9th.

MAGISTRATE JUDGE SCHROEDER: I'm bewildered. How could
he not know it was on the calendar if we've been messing with
this situation for months?

MR. LYNCH: Yeah, that you'll have to ask him when he
arrives on February 9th. He said he was going to communicate
something to the Court, I assume by letter.

MAGISTRATE JUDGE SCHROEDER: Mr. Harrington.

MR. HARRINGTON: Judge, the government and we were ready
to argue today but I, we got a response from the government
on Monday which, which is when it was due and they raised a
couple issues there that we feel -- we could talk about them
orally but we think it would be helpful to give you something
in writing from us in response to those.

But, in addition to that, we submitted a long list of
factual things that we're asking the Court to make findings
on because --

MAGISTRATE JUDGE SCHROEDER: Some of which the
government says it's --

MR. HARRINGTON: Right.

MAGISTRATE JUDGE SCHROEDER: Willing to --

MR. HARRINGTON: Right.

MAGISTRATE JUDGE SCHROEDER: -- agree to which causes me
to say why not just enter into a stipulation of facts?

MR. HARRINGTON: Well, we may. But that leads to the

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next part of that which is some of the things that they've
already agreed to, I've realized have some inaccuracies so
that we need to make sure that if we stipulate or if you
approve it, that it's completely accurate.

So, we've agreed that I will meet with Mr. Lynch and Mr.
Glaberson next week and we will go through them all together
and I think we can reach accord on almost all of them.

And then in the meantime, we can prepare our response to
this. And if the government approves -- or if the Court
approves, we agreed we would come back on February the 9th.
Our reply would be filed on February the 7th, if that's all
right with the judge.

MAGISTRATE JUDGE SCHROEDER: Before you spend a lot of
time, you and Mr. Lynch, on this so-called stipulation of
facts, I'm still somewhat misunderstanding, I guess, as to
why we have to get into that kind of detail when I've already
indicated that, as far as I'm concerned, the search at 56
Grimes on February the 19th, 2020 was illegal.

MR. HARRINGTON: Well, Judge, while we agree with you --

MAGISTRATE JUDGE SCHROEDER: And --

MR. HARRINGTON: -- wholeheartedly --

MAGISTRATE JUDGE SCHROEDER: And so whether a door was
locked or wasn't locked or whether a stairway went from the
office to the attic or went from a bedroom to the attic, to

me, I fail to see any significance as to that kind of detail

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when I've indicated just being on the second floor of the
building was invalid and illegal.

MR. HARRINGTON: Judge, unfortunately, from the defense
side, we know that there are people above you on a number of
levels --

MAGISTRATE JUDGE SCHROEDER: What, you think they
wouldn't listen to me?

MR. HARRINGTON: -- who may not agree with you and we
want to make sure we have other bases for them to consider,
in the event that they should improperly disagree with you.

MAGISTRATE JUDGE SCHROEDER: No, I understand that.

But then it just comes down to the issue, as I see it,
of the first search warrant in question said it was
authorizing a search of the lower front of 56 Grimes. It's
indisputable, based on the testimony at the hearings, that
the agents went up on to the second floor before they had a
second search warrant.

So, even if some higher court -- although it's hard to
imagine -- but even if they were to disagree with me and my
finding as to the second search warrant and its invalidity
and the activities of the law enforcement personnel in going
to the second floor without a search warrant, it seems to me
the only issue is what was authorized in the first warrant?
And that was an entry and search in the lower front, period.

Whether doors were locked or whether there were offices

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upstairs or bedrooms upstairs or apartments upstairs was
irrelevant.

MR. LYNCH: Well, Judge, you know, again, we've --

MAGISTRATE JUDGE SCHROEDER: I know you disagree with my
Report and Recommendation.

. MR. LYNCH: Right, because the defendant does have -- I
mean, the defendant has a burden to establish reasonable
expectation of privacy that's objectively and subjectively
reasonable but --

MAGISTRATE JUDGE SCHROEDER: Let me interrupt you there.

One, if I recall, an affidavit was filed by Mr. Burgin
saying he had an office up there and he utilized that
apartment up there. His mother owned the building and we had
testimony from Mr. Burgin himself indicating that --

{(Extraneous noise.)

MR. LYNCH: True, Judge, and I understand that. But we
may -- we articulated at least four grounds why we thought
that, based on the law, that there were reasonable challenges
to his, his claim in that regard and some of it had to do
with, you know, the multiple access -- there were multiple
people who had access to the facility. It was a commercial
premises. The defendant, you know --

MAGISTRATE JUDGE SCHROEDER: Wait a minute. Wait a
minute. Who had multiple access of the second floor? Only,

as I recall the testimony of everybody that testified, it was

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Mr. Burgin and that tenant in the front --

MR. LYNCH: So --

MAGISTRATE JUDGE SCHROEDER: -~ and the mother who owned
the building.

MR. LYNCH: Right. And Mr. Pierce because we know he
had the keys.

MAGISTRATE JUDGE SCHROEDER: Well, no, the evidence
only -- relating to Mr. Pierce was he was seen going in and
out of the front door of 56 Grimes and that's why the
warrant, the first warrant said "lower front".

MR. LYNCH: I think the defendant said Mr. Pierce had
it. His own testimony was Mr. Pierce had it, his
brother-in-law had it, quote, unquote, anyone who has been
there in the last 22 years might have access. He didn't know
because he didn't own the building.

But then if we even assume Mr. Loman exists, we know
that the key to the front landing of the second floor was the
same key that you used to enter the back Landing on the
second floor. So if you had access to the front area, you
had access to the back area. And so our point was that whole
area -- they're not separate. It's all one, one continuous
location. And he said there were locked doors but our
photographic evidence demonstrates there were no locked doors
inside the second floor premises.

And so those were reasonable challenges we made that the

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R and R didn't address. And so that's what -- that's really
what -- I mean, principally, we will be objecting on the
grounds that the Court didn't adequately consider the burden
that the defendant had to come forward with by a
preponderance of the evidence that he had a reasonable
expectation of privacy. That's the first thing.

MAGISTRATE JUDGE SCHROEDER: Well --

MR. LYNCH: The second thing is ~-

MAGISTRATE JUDGE SCHROEDER: Well, wait.

The entire second floor circumstance was conducted
illegally --

MR. LYNCH: Okay.

MAGISTRATE JUDGE SCHROEDER: -- in my R and R.

MR. LYNCH: Right. But if he doesn't have a reasonable
expectation of privacy in the second floor, then it doesn't
matter.

MAGISTRATE JUDGE SCHROEDER: But he testified that he
utilized that apartment. He testified that he had an office
there. There was nothing put forth before Judge Case to
indicate anything about multiple people having access to the
second floor or that the defendant didn't have any
expectation of privacy in the second floor. All that they
did with the second warrant was have Judge Case apparently
white out the words "lower front" and insert the additional

words “second floor for 56 Grimes but nothing else in the

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form of support for probable cause was inserted.

MR. LYNCH: Yeah, Paragraph 2A was put into the second
affidavit regarding information --

MAGISTRATE JUDGE SCHROEDER: Then they threw in the
garage --

MR. LYNCH: Attic.

MAGISTRATE JUDGE SCHROEDER: -- and attic but yet they
don't put forth in an affidavit by the sheriff's deputy as to
why the garage and the attic in any way would show the
existence of contraband.

MR. LYNCH: And then we also establish coming ~-- as the
Court is aware, common areas are not, you know, they are not
subject to the same protections that a premises ora
residence would be. So --

MAGISTRATE JUDGE SCHROEDER: Where was there a common
area in the --

MR. LYNCH: -- the attic.

MAGISTRATE JUDGE SCHROEDER: Yeah but they actually
broke down the door.

MR. LYNCH: No, they didn't.

MAGISTRATE JUDGE SCHROEDER: They breached the door on
the second floor --

MR. LYNCH: Right.

MAGISTRATE JUDGE SCHROEDER: -- into that apartment area

and then they went to the attic.

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MR. LYNCH: But the attic was accessible to Ray Loman
and to anyone else on the second floor.

MR. HARRINGTON: Judge, that's -- wait. Wait a minute.
He's making all sorts of arguments here.

First of all, we don't agree with them.

But, secondly, either we're going to argue it today or
we're not going to argue it today. And, I mean, for example,
the issue about his standing here was never raised by the
government. We submitted the affidavit. We put on proof
about it and never questioned.

MAGISTRATE JUDGE SCHROEDER: And I found that Mr. Burgin
had standing.

MR. HARRINGTON: Right.

MAGISTRATE JUDGE SCHROEDER: That's why we held a
evidentiary hearing.

MR. HARRINGTON: Okay.

MR. LYNCH: Well, but -- well, I mean to say we never
objected. We, we -- first of all, we have claimed it
throughout. We claimed it in our initial response to their
papers. They filed a supplemental affidavit. Okay, that was
enough to get a hearing. Now we had a hearing and now we can
still --

MR. HARRINGTON: But --

MR. LYNCH: Just because you -- just because you had a

hearing doesn't mean you have established that you have a

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reasonable expectation of privacy.

MAGISTRATE JUDGE SCHROEDER: Wait a minute.

MR. LYNCH: It means you have --

MAGISTRATE JUDGE SCHROEDER: Wait a minute.

MR. LYNCH: -- enough to conduct --

MAGISTRATE JUDGE SCHROEDER: Wait a minute.

MR. LYNCH: -- a hearing.

MAGISTRATE JUDGE SCHROEDER: Wait a minute. Wait a
minute. But Mr. --

MR. LYNCH: We still have --

MAGISTRATE JUDGE SCHROEDER: Mr. Burgin testified ~-

MR. LYNCH: Okay.

MAGISTRATE JUDGE SCHROEDER: But he testified as to why
he felt he had an expectation of privacy.

MR. LYNCH: That --

MAGISTRATE JUDGE SCHROEDER: He testified under oath as
to how he used those second floor premises and the government
never presented anything to contradict that.

MR. LYNCH: Well, one, I cross-examined him, Judge, on
it.

MAGISTRATE JUDGE SCHROEDER: And I've read the
cross-examination and you didn't establish anything to
indicate that Mr. Burgin didn't have an office there or that
he didn't use that second floor apartment. In fact, the

government's claim was he was using it because they found the

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mail addressed to the other address.

MR. HARRINGTON: Right.

MAGISTRATE JUDGE SCHROEDER: So the government itself
was claiming he was using that place.

MR. LYNCH: But, but, but there was other evidence --
Judge, all I'm saying is your R and R didn't address that.
Your R and R --

MAGISTRATE JUDGE SCHROEDER : It didn't have to because
there was an invalid second search warrant --

MR. LYNCH: So --

MAGISTRATE JUDGE SCHROEDER: -- and the going into the
second floor for a protective sweep was invalid --

MR. LYNCH: Okay.

MAGISTRATE JUDGE SCHROEDER: Based on the testimony of
sheriff's deputy --

MR. LYNCH: But that's --

MAGISTRATE JUDGE SCHROEDER: -- being in the stairwell.

MR. LYNCH: And then the only other -- I mean, the other
major point that, you know, we, we obviously -- your R and R
doesn't address inevitable discovery and that's --

MAGISTRATE JUDGE SCHROEDER: 0h, that's an interesting
question.

How is it inevitably discoverable that the contents of
the second floor apartment was going to occur if there had

not been a valid entry into that second floor? How was it

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going to be inevitably discovered?

MR. LYNCH:

warrant for the

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MR. LYNCH:

Because once -- well, one, they got a search

lower.
JUDGE SCHROEDER: I'm sorry?

They got a search warrant for the lower

validly authorized.

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MR. LYNCH:

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area.

MR. LYNCH:
Judge, there is

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MR. LYNCH:

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on --

MR. LYNCH:

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the codefendant

warrant based on what they observed.

authorities utilized the term

MR. LYNCH:

MAGISTRATE

JUDGE SCHROEDER: The lower front.

Correct, I got it.

JUDGE SCHROEDER: Which is a very limited

Okay, but once you go in the premises,

to lower front. We all know that.
JUDGE SCHROEDER: There was a lower front.
There was no lower front.

JUDGE SCHROEDER: There was a front door

Right.
JUDGE SCHROEDER: -- 56 Grimes which they saw
enter and leave. They went for the search
The law enforcement
"lower front".

Right.

(Indiscernible.)

JUDGE SCHROEDER: Now, I will give you the

front or lower floor was a bar area.

MR. LYNCH:

Correct.

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MAGISTRATE JUDGE SCHROEDER: But that's all it was. It
was an open area.

MR. LYNCH: Correct.

MAGISTRATE JUDGE SCHROEDER: That has nothing to do with
the second floor. And how can you claim that what was on the
second floor would be inevitably discovered when they were on
the first floor?

MR. LYNCH: Well, Judge, we actually -- I mean, one, we
cited Second Circuit cases that suggest that, you know,
Situations where a protective sweep was done and --

MAGISTRATE JUDGE SCHROEDER: A valid -- a valid
protective sweep.

MR. LYNCH: An invalid one in the Whitehorn case and in
the Schleede case. But, but --

MAGISTRATE JUDGE SCHROEDER: Let me ask you this. Do
you -- do you, as an officer of the court, really believe
that the actions of Captain --

UNIDENTIFIED SPEAKER: Chief Granville.

MAGISTRATE JUDGE SCHROEDER: -- Granville when he was
leading 12 to 14 officers to go into the lower front as the
warrant indicated, the front door on 96 Grimes that they saw
the codefendant go in and out twice, that he then goes into
the side door because Special Agent Webb says oh, no, no, no,
we have to go in the side door? He goes into the side door

with all the officers behind him and he's now in a confined

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stare well with nothing but stairs going to the second floor,
that he acted reasonably instead of backing out and then
reconsidering what they should have done? Which they
ultimately did. They went in through the front door.

MR. LYNCH: But I guess my point is on the inevitable
discovery ~- and I, I understand Mr. Harrington's point,
we're not here to argue but the Court did open up the
inquiry.

Our point is inevitable discovery, Judge, that doctrine
applies because there was a Fourth Amendment violation. So
we know that there's a string of cases that authorize and
will admit certain evidence over a suppression motion even
when there's a Fourth Amendment violation. Otherwise, these
doctrines wouldn't exist. And so the inevitable discovery
doctrine applies. The independent source doctrine applies.

I mean, we, we had briefed this from the beginning of
the case. It was part of our proof in the hearing. So, the
R and R didn't address it and we think that those are valid
arguments. I mean, we're fine to take it up to Judge Arcara
and that's okay. But since we were coming back here anyways,
we opened up, obviously, arguments for the Court to
understand what our position was going to be. If, if you
decline to entertain them or amplify your decision in any
way, we'll take it up to Judge Arcara -- that's perfectly

fine -- where there is a remedy for us.

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But I guess those are just some of the arguments that we
think that are factually and legally sound and while I
understand your concern about the entry into the second floor
not only once, not only twice, but three times, we understand
that, Judge, but -- and there is a balancing that is
conducted and, and there is an interest in the government
ensuring that even if there's police, alleged police
misconduct, that there is still an interest that society has
in making sure that the guilty essentially get convicted.

And there is a balancing that has to be conducted. That's
why the inevitable discovery doctrine applies or is, is a
valid basis for the introduction of certain evidence. And
we've, I think, Judge, legitimately set forth strong factual
and legal arguments for why that applies.

MAGISTRATE JUDGE SCHROEDER: Let me ask you: Why was
the exclusionary rule adopted?

MR. LYNCH: Well, of course. I mean, we agree. There
has to be --

MAGISTRATE JUDGE SCHROEDER: Why?

MR. LYNCH: -- certain ~- there has to be --

MAGISTRATE JUDGE SCHROEDER: It was adopted to deter --

MR. LYNCH: Yep.

MAGISTRATE JUDGE SCHROEDER: -- illegal activity by law
enforcement officers.

MR. LYNCH: Correct. I -- Judge, I wholeheartedly

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agree. But there are exceptions to the exclusionary rule and
one of them is the inevitable discovery doctrine.

MAGISTRATE JUDGE SCHROEDER: And I ruled otherwise. I
ruled that the conduct of the police officers, the sheriff's
officers and Special Agent Webb in this case, was abhorrent.

MR. LYNCH: But that still -- we have raised a legal
argument based on facts that are in the record that the court
just didn't address. And, and ~--

MAGISTRATE JUDGE SCHROEDER: Only because I thought the
issues were mooted out by reason of the fact that the second
warrant was invalid and the search was invalid.

MR. HARRINGTON: Judge -- Judge, this points out why
I -- we came back here asking you for other findings. This
is exactly what it is.

MAGISTRATE JUDGE SCHROEDER: I know.

MR. HARRINGTON: And when you talk about things like
inevitable discovery, good faith and the rest of this
sophistry that does away with people's rights under the
Fourth Amendment, I mean, you can't trust anything, even a
brilliant decision from a magistrate judge.

MAGISTRATE JUDGE SCHROEDER: JI have real concerns with
respect to both sides' positions in that, once again, I know
you spend a good deal of time on the failure to comply with
New York Criminal Procedure Law or Penal Law on the obtaining

of the warrant, the execution of the warrant, the nonfiling

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of the warrant and so forth.

To me, the case law by the Supreme Court of the United
States clearly establishes that when deciding Fourth
Amendment issues, it's solely a federal analysis that
applies. Even if state law is totally disregarded or
violated, so long as the Fourth Amendment procedures are
followed, it doesn't make any difference.

MR. HARRINGTON: And what, what we say is there has to
be a baseline for that some place down in the gutter that
they can't just put flimsy allegations of probable cause,
violate the law over and over again and all the rest. All we
want to do is make a record. Even though --

MAGISTRATE JUDGE SCHROEDER: 0h, no, I understand.

MR. HARRINGTON: We're aware of what the cases say.
We're aware of that.

MAGISTRATE JUDGE SCHROEDER: And I agree with you. They
have to establish probable cause. That's the requirement of
the Fourth Amendment.

MR. HARRINGTON: Right. And one of the -- we argue that
they didn't.

MAGISTRATE JUDGE SCHROEDER: I know. I'm --

MR. HARRINGTON: In the first warrant —--

MAGISTRATE JUDGE SCHROEDER: I'm just saying --

MR. LYNCH: In the first warrant --

MAGISTRATE JUDGE SCHROEDER: I'm just saying the

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procedure of arguments as to the failure to comply with New
York State law doesn't impact on the probable cause issue.

MR. HARRINGTON: But it matters because of the police
conduct itself, okay. It's not like you got some rookie
comes in and he makes a bunch of mistakes and the dumb judge
gives him a warrant and off he goes and it ends up in federal
court. That's not what we have here. We argue that from the
beginning of this case through your decision, including the
testimony of these officers on the stand, that there was
misleading of all of the courts. That's what we argue.

MAGISTRATE JUDGE SCHROEDER: I understand. [I
understand.

MR. LYNCH: And then --

MAGISTRATE JUDGE SCHROEDER: And --

MR. LYNCH: And Mr. Glaberson makes a good point, too,
Judge, to me, which is that the last thing I want to do is
come back here from Judge Arcara. I mean, if we go up and he
says, well, I need more factual findings or, you know, go
back and have Judge Schroeder determine the standing issue
that you've raised here. You know, we want to move this case

forward and the last thing I want to do is go up and then

find out I'm back here again -- not that I don't like you
Judge. I like you. I just -- I want to move this case
along.

And so really we're hoping that, you know, if we're

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back -- if we're already back here on supplemental motions,
I'd ask you to just really look at the arguments we've made
and just see if there's a way that, you know, one, I'd like
to convince you to think otherwise about your decision but if
you don't, at least decide the issues that we've raised.

MAGISTRATE JUDGE SCHROEDER: Oh, I plan on --

MR. LYNCH: Okay.

MAGISTRATE JUDGE SCHROEDER: -- doing that. I was just
looking for some further enlightenment to make sure that I'm
not missing something that I should consider.

For example, here is one issue that is troubling to me
from both perspectives. And it's this:

There is case law that clearly establishes the principle
that a Constitutional right cannot be vicariously adopted by
a codefendant or by a third-party.

And so we have this issue that the claim is being made
by Mr. Washington that the search of 56 Grimes was illegal in
violation of the Fourth Amendment. I've already ruled or
recommended that, yes, the search at 56 Grimes was in
violation of the Fourth Amendment but it was in violation of
the Fourth Amendment rights of Mr. Burgin, not Mr.
Washington.

And, therefore, if I follow the established case law of
the United States Supreme Court and lower courts, Mr.

Washington cannot validly and vicariously latch on to that

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violation because it's not his Fourth Amendment right that
was violated, it was Burgin's.

However, the other side of the coin that troubles me is
to what extreme can law enforcement go and have that
principle continue to apply?

And I give you this hypothetical: A bunch of storm
troopers knowingly, intentionally storm into a residence of a
citizen who is suspected of being a drug king and a weapons
purveyor, without a search warrant, without anything, they
just storm in and they scoop up everything. And in reviewing
and analyzing what they've scooped up from this act, they
find names and emails and documents leading to other people
and they use that evidence and that information to go and get
a search warrant for Citizen A, telling the judge that we
have recovered evidence that indicates that Citizen A is a
co-purveyor of firearms and drugs with this notorious other
individual and they don't tell the judge how they got this
evidence.

It seems to me that if we're going to be a law-abiding
Democracy, there's got to be some remedy to not allow that to
happen. And that might be a further expansion of the
exclusionary rule as a means of deterring that kind of
activity by law enforcement personnel.

T put that out there for both sides' consideration in

further enlightening me.

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MR. LYNCH: Well, obviously, that doesn't apply to
Mr. Burgin but we'll tell, we'll tell Mr. Foti that --

MAGISTRATE JUDGE SCHROEDER: Yeah, that's why I'm --

MR. LYNCH: Yeah.

MAGISTRATE JUDGE SCHROEDER: -- somewhat concerned about
Mr. Foti not being present.

MR. LYNCH: Right. We'll send him an email addressing
that issue so he can be prepared for it.

MAGISTRATE JUDGE SCHROEDER: All right. Let me just
make sure that I now know all of the present outstanding
issues and so that we can wrap this thing up.

As to the defendant Washington, as I understand it,

Mr. Harrington, one of the claims is that the government has
not yet provided Rule 12 notice to the defendant. It's at
Page 6 of your submission.

MR. LYNCH: No, I think that --

MR. HARRINGTON: Mr. Burgin.

MR. LYNCH: Mr. Burgin is different. You said Mr.
Washington.

MAGISTRATE JUDGE SCHROEDER: I'm sorry, you're right.
No, I can't address Washington because Foti's not here.

As to Burgin, the defendant is asking me to make
supplemental findings of fact to the R and R and, as I've
indicated, based on what the government responded, it had no

objection to some of it but, yet, Mr. Harrington now

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indicates there might be some further refinement that's
necessary.

I would accept a stipulation of facts just so I can make
a ruling. But I still say I don't see the relevancy of it on
the issue of probable cause. That is whether the doors were
locked, were the doors entered or what they entered into, et
cetera.

I also understand that the argument made on behalf of
the Defendant Burgin about the noncompliance with the New
York State law on search warrants.

But, once again, there, I rely on the Supreme Court
decision in California v. Greenwood, 486 United States 35, a
1988 decision, and Virginia v. Moore, a Supreme Court
decision, 553 U.S. 164, a 2008 decision which basically says
that even though individual states may construe their own
Constitutions as imposing more stringent constraints on
police conduct than does the federal Constitution, state law
does not alter the content of the Fourth Amendment and,
therefore, the analysis is to be done in a federal case in
accordance with federal law on the application of the Fourth
Amendment.

The third claim on behalf of the defendant Burgin, as I
understand it, is the claim that there was no probable cause
for the issuance of the second search warrant at Grimes. I

considered that issue moot when I did my original Report and

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Recommendation. Because I was finding that the second search
warrant was invalid based on the facts that have been
established in the evidentiary hearings.

The fourth issue relates to the stop of the defendant's
car on July 19th, 2019, and the seizure of phones from that
car.

Now, the government in its responding papers had
indicated that there was a valid vehicle and traffic stop of
Mr. Burgin's automobile. There was no testimony in the
evidentiary hearings. The testimony that I recall was that
when they went back to 56 Grimes after the nephew had been
arrested, they followed the automobile. They saw Mr. Burgin
driving to the gas station which was in the same vicinity,
maybe even across the street from the AutoZone store. He was
at the gasoline pumps and they came and they approached his
vehicle and asked him where he was coming from or where he
was going’'and they didn't like his answers and claimed his
answers were a lie.

Nowhere in the testimony of any of those, either the
sheriff's deputies, Webb didn't testify --

MR. HARRINGTON: Judge, there's confusion here because
we're talking about a different stop.

MAGISTRATE JUDGE SCHROEDER: We're not talking about the
gas station stop?

MR. HARRINGTON: No. We're talking about almost a year

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before. The previous July Mr. Burgin was stopped out here on
the traffic circle and taken into custody and they
searched --

MAGISTRATE JUDGE SCHROEDER: Oh, that's right.

MR. HARRINGTON: -- his car. Right. And Mr. Lynch
withdrew that any evidence that from stop being offered and
we said we still need evidence on it because it shows up in
later warrants issues -- as a basis for later search warrants
for phones and other premises.

MAGISTRATE JUDGE SCHROEDER: My question that I wanted
answered and reaffirmed was: Was there ever a vehicle and
traffic violation issued to Mr. Burgin?

MR. LYNCH: So, okay, so now we're -- just so we're
clear, we're referring now to the February 2020 stop, 2019 --
or --

MAGISTRATE JUDGE SCHROEDER: July 19th --

MR. LYNCH: July 19th, 2019?

MAGISTRATE JUDGE SCHROEDER: -- 2019.

MR. LYNCH: So that occurred what Mr. Harrington said,
out here, they detained Mr. --

MAGISTRATE JUDGE SCHROEDER: Burgin.

MR. LYNCH: -- Burgin. He went back to BPD
headquarters. We withdrew any evidence. We're not, we're
not --

MAGISTRATE JUDGE SCHROEDER: You took cell phones from

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the car.

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MR. LYNCH: Right. And we said we're not going to use

that evidence. So we withdrew our notice to the defendant

that we were going to use that. So, therefore, we never had

a hearing on that issue.

MAGISTRATE JUDGE SCHROEDER: Did they return the phones?

MR. LYNCH: I don't know that they've even made a claim

for the return of the phones but I don't even think we've

accessed some of those phones. There were many of them we

weren't accessed (sic). So that one -- but if you're now

referring to the February 19th, 2020, stop at the Valero gas

station across the street from the AutoZone --

MAGISTRATE JUDGE SCHROEDER: Well, wait.

Before -- I had indicated that that seems to still be a

viable issue raised in the supplemental filing: Where it
stated on behalf of Mr. Burgin that the stop of the

defendant's car on July 19, 2019, and the seizure of the

"s

phones, even though the government has withdrawn the use of

this evidence, that a paragraph in Webb's affidavit for the

search warrant, 20-MJ-65, somehow or other is invalid.
And, so, all I'm asking is: Is that still really an
issue since the government says it's not going to use ~~
MR. LYNCH: Right.
MAGISTRATE JUDGE SCHROEDER: -- the evidence?

MR. LYNCH: That was our point.

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MAGISTRATE JUDGE SCHROEDER: So why is that an issue,
Mr. Harrington?

MR. HARRINGTON: Because it's used later in other search
warrants.

MR. LYNCH: But I -- which one, Mr. Harrington? Because
I don't remember anyone where we've used-that.

MR. THOMPSON: While he's doing that, Judge, just back
to the Court's question.

We've requested the phones be returned. They haven't
been returned.

MAGISTRATE JUDGE SCHROEDER: All right. Seems to me if
the government has acknowledged it's not going to use the
phones, they should be returned as the property of Defendant
Burgin.

MR. LYNCH: I don't remember the request being made but
we'll certainly take care of it.

MAGISTRATE JUDGE SCHROEDER: All right. So that becomes
a moot issue, correct?

MR. THOMPSON: Right.

MR. LYNCH: Correct.

MAGISTRATE JUDGE SCHROEDER: Okay.

Then the Defendant Burgin also claims that the search
and seizure -- or the seizure and search of the cell phones
were based on an illegal car stop of February 19th, 2020.

MR. LYNCH: Right.

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MAGISTRATE JUDGE SCHROEDER: Which I found in my Report
and Recommendation. That's the gas station stop.

MR. LYNCH: Correct.

And in that regard, Judge, we agree, there was no
traffic violation. But our argument from the beginning has
been they had probable cause to arrest Mr. Burgin that day.

MAGISTRATE JUDGE SCHROEDER: What was the probable
cause?

MR. LYNCH: Well, they had the informant who said -~

MAGISTRATE JUDGE SCHROEDER: Only, only the nephew.

MR. LYNCH: No, remember what the informant said? The
informant said: I met with David Burgin. David Burgin told
me that the cocaine was going to come from his nephew
Pierce -- from Pierce. And they were then in communication
with -- the source was in communication with a Pierce. They
said, hey, I've already gotten the kilos that are here at my
house, or wherever they were found. I got them from Pierce
and Burgin.

Okay, that's one -- that's already some cocaine.

Then he says I'll set up a buy for another kilo.

MAGISTRATE JUDGE SCHROEDER: Right.

MR. LYNCH: Pierce delivers the, the cocaine to them.

Pierce had come from 56 Grimes which law enforcement
knew from other informants was being used by Burgin that

Washington also used it as a stash house. They then see

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Burgin's vehicle there. He then leaves. Then they approach
him. He lies to them and they take him into custody. Now --

MAGISTRATE JUDGE SCHROEDER: But what, what -—- but they
didn't charge him with anything.

MR. LYNCH: Okay. But they don't have to charge him
with anything and that's what we -- no, Judge, we made that
point in our papers. The subjective intent of the officer is
completely irrelevant. The only issue before the Court --

MAGISTRATE JUDGE SCHROEDER: I understand that.

MR. LYNCH: The only issue the Court has to decide is
whether there was probable cause based on the information
provided.

MAGISTRATE JUDGE SCHROEDER: And I said there wasn't --

MR. LYNCH: Well --

MAGISTRATE JUDGE SCHROEDER: -- because I didn't hear
any testimony or any evidence to indicate what the probable
cause was --~-

MR. LYNCH: Judge, they could have --

MAGISTRATE JUDGE SCHROEDER: -- for, for stopping him in
his automobile which was already stopped at the gas station
and seizing evidence from his automobile.

MR. LYNCH: Well, no, they didn't seize evidence from
his automobile.

MAGISTRATE JUDGE SCHROEDER: They took phones, didn't

they?

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MR. LYNCH: They seized his automobile. Then they got a
search warrant for the automobile.

MAGISTRATE JUDGE SCHROEDER: Well, they seized the
entire automobile.

MR. LYNCH: Correct, but --

MAGISTRATE JUDGE SCHROEDER: Then there was the
so-called dog sniff, which is also a mystery because we never
had an affidavit ~-

MR. LYNCH: Why would --

MAGISTRATE JUDGE SCHROEDER: -- from the officer
indicating what the dog actually did. The government
produced an affidavit about the dog's training but
mysteriously --

MR. LYNCH: No --

MAGISTRATE JUDGE SCHROEDER: -- couldn't find the other
evidence.
MR. LYNCH: -- that's a different case.

I put the dog handler on. The dog handler went through
exactly what happened. That's a different case. That's the
other case with Washington's vehicle.

This had to do with Burgin. We put Bob Galbraith on.
Bob Galbraith testified regarding what exactly it occurred.

MAGISTRATE JUDGE SCHROEDER: They didn't find any drugs
in the automobile.

MR. LYNCH: Right. No, they did not.

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MAGISTRATE JUDGE SCHROEDER: So why did they seize the

phones?

MR. LYNCH: Well, because he -- well, I mean, they had
evidence of his involvement in narcotics trafficking. Phones
are --

MAGISTRATE JUDGE SCHROEDER: Based on the February stop,
the February --

MR. LYNCH: Yeah.

MAGISTRATE JUDGE SCHROEDER: -- 19th --

MR. LYNCH: Based on the informant's information and
everything else. I mean, drug -- I mean, phones are tools of
drug trafficking. And it was more than one phone. It was
multiple phones.

MR. HARRINGTON: Judge, but that --

MAGISTRATE JUDGE SCHROEDER: I think they're
contesting -- wait.

MR. HARRINGTON: Right. Right.

MAGISTRATE JUDGE SCHROEDER: I know they're contesting
2 out of 26 phones. But that might be from the seizure at
Bennett Village.

MR. LYNCH: So, I mean, you can -- they could have
arrested.

MAGISTRATE JUDGE SCHROEDER: I know I'm mixing up.

MR. LYNCH: I know.

But they could have arrested him for drug conspiracy.

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That's, that's my point, Judge. That's probable cause. They
had an informant. They had a witness. They had drugs on the
table.

MAGISTRATE JUDGE SCHROEDER: But they didn't arrest him.

MR. LYNCH: But whether they did or didn't -- the reason
why the courts have said you don't. look at just what the
officer's intent is because otherwise you would have
individual officers who ultimately are going to decide: I
thought there was probable cause, I didn't know there was
probable cause. That's why it's an objective determination
by the Court to look at all the. facts that are developed and
make an objective decision based on the law.

MAGISTRATE JUDGE SCHROEDER: Which they did.

MR. LYNCH: Not -- because, otherwise, you have rookie
officer who doesn't think he has probable cause and you have
veteran officer who does think there's probable cause and you
have inconsistent --

MAGISTRATE JUDGE SCHROEDER: And I heard the testimony
of the witnesses and I concluded, after reviewing the
transcripts and citing to the transcripts, there was no
probable cause for the February 19th, 2020, automobile
search ~- seizure of the automobile and then the search of
it.

MR. HARRINGTON: Judge, that -- that leads us also into

the issue of the phone calls of Mr. Pierce and the

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confidential --

MAGISTRATE JUDGE SCHROEDER: Confidential informant.

MR. HARRINGTON: -- informant. Which we presented
testimony to the Court and a different translation of it
which is far different than which Mr. Lynch wants to argue
about what was going on between Pierce and the confidential
informant. So that needs to be reviewed, also.

MAGISTRATE JUDGE SCHROEDER: All right. Well, I just
want to make sure I'm covering what still remains to be
addressed.

The next claim was the seizure and search of the DVR
that was taken from 56 Grimes on February 19th, 2020,
pursuant to search warrant 20-MJ-55.

Why is that even to be treated as an issue if I rule
that everything on the second floor that was seized was
seized illegally?

MR. HARRINGTON: For the same reason before as I argue
that the search warrant was invalid, okay, I'm arguing that
the DVR was not part of either search warrant. They had no
authority to take it whether they were in there legally or
not legally. Mr. Lynch argues differently. Mr. Glaberson
argued differently. But we want a decision from the Court
as to --

MAGISTRATE JUDGE SCHROEDER: But isn't that argument --

MR. HARRINGTON: -- whether --

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MAGISTRATE JUDGE SCHROEDER: -- by both the government
and you moot by reason of my finding?

MR. HARRINGTON: It is unless we get a crazy Second
Circuit.

MAGISTRATE JUDGE SCHROEDER: Ail right. I understand.

MR. LYNCH: He says crazy. I say correct decision from
the Second Circuit.

MAGISTRATE JUDGE SCHROEDER: I'm not going to
characterize the Second Circuit.

MR. HARRINGTON: I'm not afraid of the Second Circuit.

MAGISTRATE JUDGE SCHROEDER: Now, there's also,
according to Defendant Burgin, the issue of 79 Brunswick,
the search there, claiming that the search warrant for the
79 Brunswick, which I believe is search warrant 20-MJ-35,
with specific emphasis on Paragraph 35 in that application or
that affidavit, that that's all based on what was determined
and learned from the illegal search at 56 Grimes and that the
defendant claims is all fruit of a poison tree, correct?

MR. HARRINGTON: In part. But, Judge, there's other
things -- and the Court has to look at it, exclude what
you've suppressed and look at it and see if you think, with
that stuff out of it, there's still probable cause that's
what we're asking the Court to make a finding.

MAGISTRATE JUDGE SCHROEDER: Yeah, if I take Paragraph

35 out of the affidavit --

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MR. LYNCH: Is there still --

MAGISTRATE JUDGE SCHROEDER: -- whether there is
sufficient probable cause remaining as to the issuance of the
warrant.

MR. LYNCH: Right.

MAGISTRATE JUDGE SCHROEDER: Okay. I just want to make
sure --

MR. LYNCH: Yeah, we're all in agreement on that.

MAGISTRATE JUDGE SCHROEDER: -- we're checking off all
of the issues that need to be further considered.

And the last one as to Defendant Burgin I have is
the August 25th, 2020, seizure of 26 cell phones, 18 from
79 Brunswick pursuant to search warrant issued based on the
56 Grimes events as set forth in Paragraph 12 of the
affidavit in support of that search warrant.

And then there is this second issue raised about
staleness, correct --

MR. HARRINGTON: Right.

MAGISTRATE JUDGE SCHROEDER: -- that's the issue?

MR. LYNCH: Right.

MAGISTRATE JUDGE SCHROEDER: Now, we have the Smith case
to also consider in the context of the search of phones. And
IT understand the position of both parties but I just want to
make sure that I'm not missing something.

The government asserts, rightfully, that the final

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decision of Smith by the Second Circuit that 31 days
presumptively is a delay in violation, under the facts of
that case, of Smith's Fourth Amendment rights. And that even
though the phones were seized well before the Smith decision
and held by the government, the law enforcement personnel had
no way of knowing what the Second Circuit Court of Appeals
was going to rule in Smith and because they lack that
knowledge, there was no obligation to undertake an actual
search of the phones in a diligent efficacious manner. And
that when the final decision came from the Second Circuit
talking about a presumption of 31 days being too long, within
a matter of 30 some days, August 30th or somewhere around
there --

MR. LYNCH: August 25th.

MAGISTRATE JUDGE SCHROEDER: -- August 25th, application
was made for a search warrant.

MR. LYNCH: Right. And I think the -- the other
argument we made, Judge, is their initial papers said stale,
the affidavit is stale.

Now they didn't cite Smith in their original papers. I
raised that in my response that I filed in January of 2022.

I said it does not appear that they're making a Smith motion
because -- I apologize, Judge, just one second.

I have it in my notes. So it's footnote 9 of my motion

response. Okay. So, in -- so this is January of 2022. The

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defendant does not cite United States v. Smith which was
decided after the warrants were issued in this case. So the
government has not addressed the reasonableness of the delay
in obtaining the warrants for cell phones seized in July of
2019. So, they cite -- they just generally cite staleness.
So, their reply that they filed, I believe the next
month, February of 2022, they didn't address it in their
reply. The defendants -- none of the defendants'
affidavits -- address the usefulness of any of these cell
phones to him. I mean, quite frankly, 26 devices, I can't
imagine that any one was particularly of significance to him
when you have 26 cell phones when most people only have one.
But setting that aside, I don't think that Mr. Burgin
ever made a sufficient claim for a Smith motion and we took
his staleness argument as just being whether information
that's on a phone can be sought -- a search warrant can be
sought months after the item has been seized and whether that
information is now stale when we know that electronic
evidence and it's even set forth in the affidavit, electronic
evidence is much different than other types of evidence that
could be dissipated or could be gone from a house or some
location. Here, electronic evidence stays in many forms ona
electronic device including in deleted areas and fragmented
areas and things like that.

So, I don't necessarily know that he's brought a Smith

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motion. He's never cited Smith so how would the government
know that that's, in fact, what they're claiming?

MAGISTRATE JUDGE SCHROEDER: Is it the government's
position that if the seizure of an electronic device is done
on the basis that the electronic device is an instrumentality
of criminal activity or a tool of criminal activity, that,
notwithstanding Smith, there's no requirement that there be a
diligent effort to search the contents of that evidence, that
phone, because it's, by itself, is evidence being held?

MR. LYNCH: I think that is, I don't know that it -- I'm
not saying that wins the day every single time, Judge, I'm
not saying that. But that is a critical factor because in
Smith, it was much different. The item was not seized
because of a warrant. It was seized in plain view.

MAGISTRATE JUDGE SCHROEDER: Right.

MR. LYNCH: And so --

MAGISTRATE JUDGE SCHROEDER: On the Thruway.

MR. LYNCH: Yeah. And so this was much different. I
mean, the original warrant in this case when we searched
79 Brunswick, the Court authorized the search of the item --
or the seizure of the items and the search of those items.

MAGISTRATE JUDGE SCHROEDER: Which would cause Smith to
come into play because if the seizure -- I mean, if there was
to be a seizure and then a search, the search theoretically

under Smith should have been done diligently.

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MR. LYNCH: There ~- yes. But that's only one factor.
MAGISTRATE JUDGE SCHROEDER: No, I understand.

MR. LYNCH: The one --

MAGISTRATE JUDGE SCHROEDER: JI understand there's --
MR. LYNCH: Yeah.

MAGISTRATE JUDGE SCHROEDER: -- four factors in Smith.

MR. LYNCH: Yeah.

MAGISTRATE JUDGE SCHROEDER: But I guess I still have
the question of if you seize something as an instrument of
criminal activity, like cell phones are as the courts have
held in drug cases, they're the tools of the trade.

MR. LYNCH: Right.

MAGISTRATE JUDGE SCHROEDER: So you seize that
instrument itself as a piece of evidence just like a gun.

MR. LYNCH: Yeah, I mean, I definitely, if they're --

MAGISTRATE JUDGE SCHROEDER: The only question I have
is: Does that mean the government can sit on that evidence

ad infinitum before actually making a search of the phone?

MR. LYNCH: Yes. I think we could sit on it. We may do

it at our own peril for the use of the actual item -- the
contents of that item but we could keep that item forever,

right. I mean, a phone is evidence of drug trafficking. I

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a person has six phones in their car, I could argue, look it,

ladies and gentlemen, who else has six phones but a drug

dealer has six phones in his car, even if we never even get

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into the contents of them.

MAGISTRATE JUDGE SCHROEDER: No, I understand.

MR. LYNCH: Yeah.

MAGISTRATE JUDGE SCHROEDER: The government's not
obligated to return evidence --

MR. LYNCH: Correct.

MAGISTRATE JUDGE SCHROEDER: -- of criminal activity.
My question is but does there come a time when the
government's got to take some action --

MR. LYNCH: I think --

MAGISTRATE JUDGE SCHROEDER: -- searching that.

MR. LYNCH: I think the Second Circuit has indicated,
yes, we do have an obligation to take some efforts as one
factor that has to be examined.

MAGISTRATE JUDGE SCHROEDER: Okay.

MR. THOMPSON: Judge, could I just clarify a little
bit --

MAGISTRATE JUDGE SCHROEDER: Certainly.

MR. THOMPSON: -- on that? It's a little bit of a
different issue. It's not exactly what the Court was
addressing. But we're talking 26 electronic devices. We're

not talking about 26 cell phones.
MAGISTRATE JUDGE SCHROEDER: You're talking about 2,
right?

MR. THOMPSON: 2.

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MAGISTRATE JUDGE SCHROEDER: Item -~-

MR. THOMPSON: Yes.

MAGISTRATE JUDGE SCHROEDER: -- number seven and item
number eight.

MR. THOMPSON: Right. And there are computers and
there's other stuff. When you say 26, Mr. Lynch said, you
know, that Mr. Burgin had 26 cell phones, he didn't. That's
not accurate. And it's a little bit different -- it's a
little bit difficult for us --

MAGISTRATE JUDGE SCHROEDER: Well, 18 were seized from
the Brunswick address, 79 Brunswick, I believe 18 cell phones
were seized, 2 of which are allegedly --

MR. THOMPSON: No, no. No.

UNIDENTIFIED SPEAKER: Your Honor --

MR. LYNCH: Yeah, and I -- Judge, I, I, I, if -- I don't
doubt that Mr. -- I don't have that search warrant in front
of me, so I apologize, Judge. I'm not sure.

MAGISTRATE JUDGE SCHROEDER: Well, I was just going by
what was listed in the supplemental submissions.

MR. THOMPSON: And we can clarify that in our
Submissions to the Court, Judge.

The other thing on the question of delay, Judge, while
you're looking for that, is it's hard for us to make
particular allegations with respect to the delay of the

search on the devices because we never got any discovery with

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respect to those searches.

MAGISTRATE JUDGE SCHROEDER: Okay. Let me go back. On
August 25th, 2020, 26 cell phones were seized, 18 came from
79 Brunswick.

MR. THOMPSON: I think that's just a misstatement,
Judge.

MAGISTRATE JUDGE SCHROEDER: Okay, that's what I read.

MR. THOMPSON: Right. I understand.

MAGISTRATE JUDGE SCHROEDER: But as I further understand
it, on behalf of Defendant Burgin, it's only claimed that two
phones are involved.

MR. GLABERSON: Your Honor --

MAGISTRATE JUDGE SCHROEDER: Phones number seven and
number eight.

MR. GLABERSON: -- that's related to Mr. Washington.

MAGISTRATE JUDGE SCHROEDER: Which --

MR. GLABERSON: Phones -- there were 13 devices. That
search warrant 20-MJ-1137 authorized the digital search of 26
total devices and 13 of those devices came from 69 Bennett
Village Terrace and David Washington asserted that 2 of
those, seven -- number seven and number eight belonged to
him.

MAGISTRATE JUDGE SCHROEDER: But in the Burgin papers on
the 79 Brunswick search, they're referring to search warrant

20-MJ-35 and Paragraph 35 in that affidavit. I believe --

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MR. GLABERSON: Yes, it was incorporated by reference.

MAGISTRATE JUDGE SCHROEDER: And it's that search
warrant 20-MJ-35 that it's utilized to seize the cell phones,
18 of them from 79 Brunswick. And that Paragraph 35
basically is referencing the events of what occurred at 56
Grimes.

MR. THOMPSON: Yeah.

MAGISTRATE JUDGE SCHROEDER: And defendant is saying if
you take out Paragraph 35, there's no probable cause
established for the issuance of search warrant 20-MJ-35.
That's what I understand the argument to be.

MR. GLABERSON: Understood. I was just clarifying with
respect to which devices they were talking about.

MAGISTRATE JUDGE SCHROEDER: Okay. Now, unfortunately,
we don't have Mr. Foti and Mr. Washington because I wanted to
address some issues there, to just kind of focus and narrow
as much as we could narrow things down.

So what I'm hearing today is that we need another
session like this but only for purposes of going through it
with the Washington issues.

MR. LYNCH: And IT think Mr. Harrington wants an
opportunity to respond.

The one thing I, I -- I just want to note for the record
today, Judge, the defendants approached us today asking for

additional time to respond -- to amplify their responses to

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some of our arguments but, otherwise, today Mr. Glaberson and
I were prepared to go forward with oral argument on all of
these motions today.

MAGISTRATE JUDGE SCHROEDER: I understand.

MR. LYNCH: Including Mr. Washington's and it's the --
Mr. Washington's attorney who didn't appear today, and then
Mr. Harrington's obviously has asked for additional time to
assist the Court. And I just note the government's
preparedness for the proceedings.

MAGISTRATE JUDGE SCHROEDER: I understand.

And just so Mr. Burgin understands -- and, of course,
the same will apply to Mr. Washington ~~ there are motions
pending on behalf of both defendants and the filing of those
motions automatically cause the speedy trial clock to stop
and to remain stopped until those motions have been finally
resolved.

And, therefore, the time until that resolution of
motions has occurred is to be excluded for purposes of the
time requirement set forth in the Speedy Trial Act.

And that exclusion of time is done and is hereby so done
pursuant to the provisions contained in Title 18 of the
United States Code Section 3161 (h) (1) (D).

Correct, Mr. Harrington?

MR. HARRINGTON: Yes, Judge.

MAGISTRATE JUDGE SCHROEDER: Correct, Mr. Lynch?

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MR. LYNCH: Yes, Judge.

MAGISTRATE JUDGE SCHROEDER: All right.

MR. LYNCH: I think --

MAGISTRATE JUDGE SCHROEDER: So --

MR. LYNCH: Yeah, I think we picked February 9th in the
morning, Judge. I think it's -- as long as Ms. Guidotti
picks a time, we've already indicated we're all available.

MAGISTRATE JUDGE SCHROEDER: What does my calendar look
like?

(WHEREUPON, a discussion was held off the record

between Judge Schroeder and courtroom deputy.)

MAGISTRATE JUDGE SCHROEDER: Make sure Mr. Foti becomes
aware.

MR. LYNCH: We asked him about his availability
specifically for that date. He said he was available.

MAGISTRATE JUDGE SCHROEDER: All right.

MR. LYNCH: So, just so the Court's clear as to what
the -- just the mechanics of what's going to occur over the
next two weeks.

Mr. Harrington and Mr. Glaberson and Mr. Thompson and I
are going to meet next -- so the 30th, that's Tuesday, to
discuss the potential stipulation regarding certain facts.

By December 7th, which is -- or, I'm sorry, February 7th
which is Wednesday of the following week, Mr. Thompson and

Mr. Harrington will file any reply to the government's

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supplemental response.

And then we'll be here for oral argument on
February 9th.

MAGISTRATE JUDGE SCHROEDER: Okay. Now I've got a
couple of housekeeping matters to attend to.

There was to be an affidavit submitted on behalf of
Mr. Burgin, right?

THE CLERK: Financial affidavit.

MAGISTRATE JUDGE SCHROEDER: Financial affidavit.

MR. HARRINGTON: Right. That was a confusion between
Mr. Thompson and I, Judge. We, we worked on it when you
appointed him but we got to review it --

MAGISTRATE JUDGE SCHROEDER: Okay.

MR. HARRINGTON: -- now to make sure it's the accurate.

MAGISTRATE JUDGE SCHROEDER: Because there's not going
to be any payment made --

MR. HARRINGTON: Right.

MAGISTRATE JUDGE SCHROEDER: -- until that affidavit is
filed with the clerk's office. So, I would suggest you get
it in forthwith.

Now, I don't want you to treat it as a sanction ora
criticism in any way but it does give me some leverage by
reason of the fact that the deadline wasn't met in this
context.

IT have been searching diligently, as has my court

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deputy, to find an attorney to represent a defendant ina
collateral case arising out of the ***Fero case.

Mr. Rosenthal, is it?

THE CLERK: Rosenthal.

MAGISTRATE JUDGE SCHROEDER: Rosenthal.

MR. LYNCH: I'm a witness on the ***Feros case, Judge,
so I'm not involved in that.

MAGISTRATE JUDGE SCHROEDER: Without any success either
by way of attorneys being conflicted or not available.

And it's come down to this, Mr. Thompson.

MR. THOMPSON: You --

MAGISTRATE JUDGE SCHROEDER: JI would like to assign you
as a member of the Criminal Justice Act panel of attorneys to
undertake the representation of Mr. Rows she know that you
will. It's just a two-defendant case. It's a trafficking
case but it's just two defendants. Because we need to move
it on. It's been pending now for a while and there are
speedy trial rights involved, at least for the codefendant.

MR. THOMPSON: So, Judge, if I could --

MAGISTRATE JUDGE SCHROEDER: I will give you a
reasonable amount of time, knowing how busy you are here, but
I've reached the point of desperation.

MR. THOMPSON: If I could, Judge, I would like to, you
know, thank the Court for its faith in me and accept the

assignment provisionally at the moment. And let me tell you

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why, Judge.

MAGISTRATE JUDGE SCHROEDER: Sure.

MR. THOMPSON: Because there is another case involving
the Feros matter that just resulted in an indictment that may
or may not require the appointment of Capital counsel. By my
count, in this district, there are four -- well, there's six
qualified learned counsel for Capital cases.

MAGISTRATE JUDGE SCHROEDER: Right.

MR. THOMPSON: Two are in my firm. Two are in
Mr. Harrington's firm but I don't think they're taking
Capital cases. And two have never taken a Capital case.

So I think there's going to be a determination very
shortly, like within a week or so, as to whether or not
there's going to be a need for appointment of Capital counsel
in that case. If there is, I'd like to remain available for
that because of the very limited options within this
district. If —--

MAGISTRATE JUDGE SCHROEDER: Now let me ask this --

MR. THOMPSON: Yes.

MAGISTRATE JUDGE SCHROEDER: Is that Capital case going
to be one where it's going -- there's going to be a need for
assigning counsel or is it one where there will be retained
counsel?

MR. THOMPSON: There would be --

MAGISTRATE JUDGE SCHROEDER: Because if it's assigned

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counsel, there are the two public defenders in Rochester who
are qualified as learned counsel in a death case. They're
obviously engaged right now in the Gendron case but since
you're indicating this particular Capital case is just at the
embryonic stages --

MR. THOMPSON: Right.

MAGISTRATE JUDGE SCHROEDER: -- it may be that those two
public defenders would be available, if it's to be an
assigned case.

MR. THOMPSON: I think the magistrate judge has been
asked to make a determination within a week or so as to
whether or not there's a need for appointment of Capital
counsel. There are theoretically four Capital defendants in
that case. The government could say we're never going to
pursue Capital prosecution with respect to one or two or
three of those defendants and there might be only one left
out there. Right now, there are four that could qualify.

So that's the concern, I guess. I think that's going to
be resolved fairly expeditiously. It's already been
presented to the magistrate and he's asked for further --

MAGISTRATE JUDGE SCHROEDER: Is that --

MR. THOMPSON: -- filing.

MAGISTRATE JUDGE SCHROEDER: Is that in front of
Magistrate Judge Pedersen?

MR. THOMPSON: McCarthy.

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MAGISTRATE JUDGE SCHROEDER: Oh.

MR. THOMPSON: Judge McCarthy.

MAGISTRATE JUDGE SCHROEDER: Oh, so, it's here?

MR. THOMPSON: It's here in Buffalo, yes.

MAGISTRATE JUDGE SCHROEDER: Here in Buffalo.

MR. THOMPSON: So that's my only reservation, Judge.

And I have to look at any potential conflicts. I'm
actually involved in another kind of offshoot of Feros
prosecution but I think it's all by itself. I don't think it
creates a conflict for anything else. I just want to check
it to be sure.

MAGISTRATE JUDGE SCHROEDER: Certainly.

MR. THOMPSON: But with those reservations, I'd be happy
to accept it, Judge. I'd just like to figure out if there's
going to be a need for Capital counsel and, if so, I'd like
to be available for that purpose. If that's irrelevant, then
I'm in.

MAGISTRATE JUDGE SCHROEDER: All right. We have
Mr. Rosenthal on tomorrow.

THE CLERK: Today.

MAGISTRATE JUDGE SCHROEDER: Today.

MR. THOMPSON: You want me to hang around.

MAGISTRATE JUDGE SCHROEDER: If you wouldn't mind. What
time do we have it scheduled for?

THE CLERK: 1:30.

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MAGISTRATE JUDGE SCHROEDER: 1:30. All right.

Do we have a bail issue pending?

MR. LYNCH: Not on this case.

MAGISTRATE JUDGE SCHROEDER: Okay.

MR. THOMPSON: Right. Right.

MR. LYNCH: That's all been resolved.

MAGISTRATE JUDGE SCHROEDER: I'm sorry.

MR. LYNCH: That's all resolved.

MAGISTRATE JUDGE SCHROEDER: It's been resolved.

MR. LYNCH: Yeah.

MAGISTRATE JUDGE SCHROEDER: So we've addressed
everything that's pending that needs to be finally addressed.

MR. LYNCH: Correct.

MR. THOMPSON: Judge, I had another suggestion. I mean,
this might mess up our schedule, maybe it's a bad suggestion.

But you said you wanted to address issues with respect
to Mr. Washington, as well. And I don't know if you want to
address them at the same time along with Mr. Burgin's issues
or you want to do them separately.

I'm ordering a copy of this transcript anyway. If the
issues were in the transcript, I'd provide it to Mr. Foti and
he could be prepared to address those issues sooner maybe
than having him come back to court and reviewing those with
him. I don't know. Just my thought.

MAGISTRATE JUDGE SCHROEDER: Well, I think that's an

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excellent suggestion. So let me just make a record of what I
was going to address and Mr. Foti can then be better
prepared --

MR. THOMPSON: Very well.

MAGISTRATE JUDGE SCHROEDER: -- for February 9th.

As I view the submissions made on behalf of the
Defendant Washington, I concluded these were the outstanding
claims being made by that defendant.

One, that the government has not provided Rule 12 notice
to the defendant. That appears at Page 6 of the Washington
submission.

‘Two, that the defendant is "awaiting receipt of digital
data from all cell phones". That also is stated on Page 6 of
the Washington submission.

Three, there are numerous suppression motions as set
forth on Pages 8 and 9 and 10, which the defendant states
that five of the suppression motions have been resolved. See
docket 514. And my Report and Recommendation with respect to
the search of the Washington Cadillac which I had recommended
suppression of evidence and the 56 Grimes Street search.

The fourth issue is the search of the Ford Ranger
automobile of Mr. Washington at 69 Bennett Village. I did
hold an evidentiary hearing on that and I did submit a Report
and Recommendation recommending denial of the defendant's

motion. It all centered on the issue of consent as to

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whether consent had been validly given by Mr. Washington to
the special agent when they were sitting in a car outside of
69 Bennett Village.

The fifth claim, as I understand it, is the defendant
says that there are presently pending five motions. That's
found on Page 15 of the submission which relate to the
February 2020 searches, that three of those motions relate to
real property -- which I'm assuming he meant houses or
residences -- and two motions relate to the cell phones that
were seized from 69 Bennett Village. The further claim of
the Defendant Washington is that the three property searches
are all based on the events that occurred at 56 Grimes on
February 19th, 2020, and, therefore, those subsequent
searches being based on the Grimes events were really
products or fruits of a poisoned tree. That's basically set
forth on Page 16 of the submission.

The question I raise, as I previously did at the start
here this morning, is it appears to me that Defendant
Washington is attempting to vicariously adopt the Fourth
Amendment rights of the Defendant Burgin by claiming that 56
Grimes was a violation of the Fourth Amendment, albeit a
violation of Mr. Burgin's rights; nevertheless, that
violation poisoned the tree which produced fruit for the
search at properties in which Mr. Washington had an interest

and, therefore, applying the principle of the fruit of the

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poison tree, those searches are invalid. And that's set
forth, once again, on Page 16 of the submission.

And then Defendant Washington also raises the claim that
there was delay in getting the search warrants for all of the
cell phones that were seized in which Mr. Washington had an
interest. And that raises the issue that I've previously
addressed here this morning of the Smith case and the concept
of the cell phones being considered instruments or tools of
criminal activity per se, and, therefore, there's a
difference in that context from those phones and what the
factual situation was in the Smith case.

In Smith, as I understand it, there was the vehicle and
traffic stop made on the New York State Thruway by the state
trooper and during the course of that vehicle and traffic
stop, the trooper noticed what I'll call an iPad or a tablet
and had some guestion or issue about what was contained in
that, whether there might be some kind of contraband and
that, as a result, Smith was taken to the trooper barracks
and the tablet or the iPad or the device was seized -- or the
device was seized.

And the sole purpose, as the Court found, for the taking
of the device was to determine whether there was evidence of
criminal activity involved, had nothing to do with the
vehicle and traffic charge. And, therefore, if that was the

purpose of seizing that, coupled with the fact that in this

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day and age, electronic devices contain our entire lives in
most instances by what we store on them.

There was a question as to whether the authorities were
diligent in undertaking the application for a search warrant
authorizing the search of that device and, if they were not,
then the evidence taken from the device should be suppressed.

And it was in the Smith case, then, that the presumption
of failure to take diligent action was created, using a time
period of 31 days, under those facts.

So that's what I'm anticipating Mr. Foti to address.

MR. THOMPSON: One other CJA matter, Judge, in order to
expedite our schedule here and hopefully comply with our
schedule, can I have authority to request an expedited
transcript?

MAGISTRATE JUDGE SCHROEDER: I have no hesitancy to
grant that. I just don't know if there's any kind of freeze
because of the budgetary problems.

MR. THOMPSON: Okay. I'll request it. The problem --

MAGISTRATE JUDGE SCHROEDER: If it's available that way,
T'll authorize it.

MR. THOMPSON: Okay, very well.

MAGISTRATE JUDGE SCHROEDER: I just don't know if the
Congressional budgetary situation has put any kind of a hold
on those kinds of expenditures.

MR. THOMPSON: My concern is if it's not expedited,

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we're not going to have it before February 9th. So I'm going
to try to get it as quickly as I can.
MAGISTRATE JUDGE SCHROEDER: I understand. All right.
Thank you, everyone.

(WHEREUPON, proceedings adjourned.)

CERTIFICATE OF TRANSCRIBER

In accordance with 28, U.S.C., 753(b), I
certify that this is a true and correct record of proceedings
from the official audio recording of the
proceedings held in the United States District Court
for the Western District of New York before the

Honorable H. Kenneth Schroeder, Jr. on January 25, 2024.

S/ Diane S. Martens

Diane S. Martens
Transcriber

